
300 S.W.3d 241 (2009)
Gary T. WASHINGTON, Appellant,
v.
STATE of Missouri, Respondent.
No. ED 92421.
Missouri Court of Appeals, Eastern District, Division Three.
December 8, 2009.
Motion for Rehearing and/or Transfer to Supreme Court Denied January 12, 2010.
Scott Thompson, Saint Louis, MO, for Appellant.
Chris Koster, Attorney General, Karen L. Kramer, Assistant Attorney General, Jefferson City, MO, for Respondent.
Before GLENN A. NORTON, P.J., MARY K. HOFF, J., and LAWRENCE E. MOONEY, J.

ORDER
PER CURIAM.
The movant, Gary Washington, appeals the motion court's order denying his Rule 24.035 motion for post-conviction relief without an evidentiary hearing. We have reviewed the parties' briefs and the record on appeal and find no clear error. Rule 24.035(k). An opinion would have no precedential value. The parties have been provided with a memorandum, for their information only, setting forth the reasons for this decision.
The motion court's order denying the movant's Rule 24.035 motion for post-conviction relief is affirmed. Rule 84.16(b)(2).
